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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Criminal No. 21-cr-00500-CJN
                                             :
MICHAEL LEON BROCK,                          :
                                             :
                                             :
                      Defendant.             :

                                             ORDER

       Upon consideration of the United States’ motion to disclose items protected by Federal

Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

       ORDERED, that the motion is GRANTED, and it is further

       ORDERED, that the United States may provide in discovery materials protected by

Federal Rule of Criminal Procedure 6(e), and it is further

       ORDERED, that the United States may provide in discovery sealed materials, pursuant to

the previously entered protective order governing discovery, and it is further

       ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.




Date: October 22, 2021                       ___________________________________
                                             THE HONORABLE CARL J. NICHOLS
                                             UNITED STATES DISTRICT JUDGE
